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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 1:19-cv-03450-RBJ

JESSICA PECK,

       Plaintiff,

v.

MICHELLE BARNES, in her official capacity as Executive Director of the
Colorado Department of Human Services; and
BETH McCANN; in her official capacity as the District Attorney of the Second
Judicial District, State of Colorado,

       Defendants.


                    JOINT STATEMENT OF STIPULATED FACTS


       Plaintiff Jessica Peck, and Defendants Michelle Barnes and Beth McCann, by

and through their respective undersigned attorneys, hereby respectfully submit the

following Joint Statement of Stipulated Facts for the Court’s consideration for purposes

of future proceedings in this matter. These stipulations are made without admission or

concession by any party as to the relevance or materiality of any recited fact or law.


       1.     Recitations and interpretations of law contained in this stipulation are to

provide the Court with context and are not intended to stipulate to any interpretation of

such law. These recitations and interpretations of law shall not bind any party as to the

legal effect of such law or regulation, nor shall their inclusion limit any party in asserting

any other law or regulation in support of their position.
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       2.     Each of the following persons, if sworn as a witness in this matter, would

testify as set forth in the respective Declaration each has submitted in this matter as

follows: Jessica Peck (ECF 55); Joseph Homlar (ECF 58); and Matthew Holtman (ECF

59). The facts offered pursuant to those Declarations shall be regarded solely as the

witness’s anticipated testimony, and not be deemed in any way as adoption or

confirmation of any such fact or facts by any party other than the party that submitted the

declaration. Each Declaration is subject to the applicable rules of evidence, and no non-

submitting party waives any objection to the materiality or admissibility of any statement

contained in any of such Declarations.

       3.     The parties agree that this stipulation and the forgoing declarations shall

constitute the record for purposes of the cross motions for summary judgment

contemplated by the Scheduling Order (ECF 47), and that no formal discovery will be

required, unless the Court determines that discovery or an evidentiary hearing is

necessary.

       4.     Plaintiff Jessica Peck is an attorney licensed to practice law in the State of

Colorado.

       5.     Ms. Peck represents and advocates as a private attorney for individual

parents in Colorado juvenile courts in matters governed by the Colorado Children’s

Code, Title 19 of the Colorado Revised Statutes. 1




1 All subsequent references to Colorado and federal statutes refer to the

versions in effect at the time of the events described in Ms. Peck's complaint,
which remain in effect as of the date of this filing, unless otherwise noted.

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       6.     The City and County of Denver, through its Department of Human Services

(“Denver Human Services”), administers the duties for which Denver is responsible

under the Dependency and Neglect provisions of the Colorado Children’s Code.

       7.     Defendant Beth McCann is the District Attorney for the Second Judicial

District, which consists of the same geographic area of the City and County of Denver.

       8.     The District Attorney for the Second Judicial District is charged with

enforcing the criminal laws of the State of Colorado for offenses committed within the

City and County of Denver, by and through the prosecution of criminal charges alleging

the violation of such laws, including the class I misdemeanor created by section 19-1-

307(4) and the petty offense created by section 19-1-307(1)(c).

       9.     Defendant, Michelle Barnes, is the Executive Director of the Colorado

Department of Human Services (the Department). She is being sued in her official

capacity. The Department supervises and provides policy direction for Colorado’s child

welfare system which is administered by Colorado’s 64 counties through their local

Departments of Human Services (County Departments). Child welfare services include

but are not limited to child protection, risk assessment, and case management.

       10.    County caseworkers, including licensed social workers, employed by

County Departments (including Denver Human Services), investigate reports of child

abuse or neglect and recommend and initiate remedies, which may include offering

voluntary services to a family, coordinating safety planning with relatives and other family

supports to keep a child in his or her home, recommending change of custody of a child

to the juvenile court in dire circumstances when initiation of a dependency and neglect


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proceeding is required because a child remaining in a home is unsafe and the safety

concerns cannot be mitigated. The court in a dependency and neglect proceeding may

order removal of a child from the parental home, change of custody, or both.

      11.      County caseworkers routinely document their investigations, interactions

with, and observations of children and members of their family or families involved.

      12.      County caseworkers may submit reports summarizing their investigations

to courts in the system of child protection under the Colorado Children’s Code.

      13.      The Colorado Children’s Code Records and Information Act, Colorado

Revised Statutes sections 19-1-301 through 19-1-311 (“the Act”), was enacted by the

General Assembly in an effort to “balance the best interests of children and the privacy

interests of children and their families with the need to share information among service

agencies and schools and the need to protect the safety of schools and the public at

large.” Colo. Rev. Stat. § 19-1-302. The Act protects and limits the use of child abuse

and neglect reports and the information contained therein. Id.

      14.      The Children’s Code, section 19-1-303(1)(a)-(b), provides:

            a. The judicial department or any agency that performs duties
               and functions under this title with respect to juvenile
               delinquency or dependency and neglect cases or any other
               provisions of this title may exchange information, to the extent
               necessary, for the acquisition, provision, oversight, or referral
               of services and support with the judicial department or any
               other agency or individual, including an attorney representing
               state or county agencies and an attorney appointed by the
               court, that performs duties and functions under this title with
               respect to such cases. In order to receive such information,
               the judicial department, attorney, or agency shall have a need
               to know for purposes of investigations and case management
               in the provision of services or the administration of their
               respective programs. The judicial department or the agencies

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               shall exchange information in accordance with paragraph (b)
               of this subsection (1).

            b. The judicial department, an agency, an attorney representing
               an agency, or an attorney appointed by the court described in
               paragraph (a) of this subsection (1) shall exchange
               information with the judicial department or similar agencies or
               individuals who have a need to know to the extent necessary
               for the acquisition, provision, oversight, and referral of
               services and support and if provided in the course of an
               investigation or for case management purposes. The
               provision of information by the judicial department shall
               include electronic read-only access to the name index and
               register of actions for agencies or attorneys appointed by the
               court to those case types necessary to carry out their statutory
               purpose and the duties of their court appointment as provided
               in this part 3. The state court administrator of the judicial
               department and the executive directors of the affected
               agencies shall ensure that there is a process for electronically
               exchanging information pursuant to this section. Agencies,
               attorneys, and individuals shall maintain the confidentiality of
               the information obtained.

      15.      Section 19-1-307(1)(a) provides:

               Except as otherwise provided in this section and section 19-
               1-303, reports of child abuse or neglect and the name and
               address of any child, family, or informant or any other
               identifying information contained in such reports shall be
               confidential and shall not be public information.

      16.      Section 19-1-307(1)(b) provides as follows:

               Disclosure of the name and address of the child and family
               and other identifying information involved in such reports shall
               be permitted only when authorized by a court for good cause.
               Such disclosure shall not be prohibited when there is a death
               of a suspected victim of child abuse or neglect and the death
               becomes a matter of public record or the alleged juvenile
               offender is or was a victim of abuse or neglect or the
               suspected or alleged perpetrator becomes the subject of an
               arrest by a law enforcement agency or the subject of the filing
               of a formal charge by a law enforcement agency.


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      17.    Section 19-1-307(1)(c) states:

             Any person who violates any provision of this subsection (1)
             is guilty of a class 2 petty offense and, upon conviction
             thereof, shall be punished by a fine of not more than three
             hundred dollars.

      18.    Section 19-1-307(4) provides:

             Any person who improperly releases or who willfully permits
             or encourages the release of data or information contained in
             the records and reports of child abuse or neglect to persons
             not permitted access to such information by this section or
             by section 19-1-303 commits a class 1 misdemeanor and
             shall be punished as provided in section 18-1.3-501, C.R.S.

      19.    Colorado Revised Statutes section 19-3-308(6)(b) provides:

             if a child protection team is established pursuant to subsection
             (6)(a) of this section, it may review an assessment or the
             investigatory reports of a case, including the diagnostic,
             prognostic, and treatment services being offered to the family
             in connection with the reported abuse.

      20.    Publicly available information at www.denver.org provides information to

submit a complaint to the City and County of Denver via telephone by dialing 3-1-1 within

Denver, or 720-913-1311 if dialing outside Denver, or via an online form through

PocketGov.com. Calls made to 3-1-1 which pertain to Denver Human Services are

forwarded to Denver Human Services.

      21.    The City and County of Denver, Denver Human Services also receives

complaints and grievances regarding child welfare activities and cases via the

Colorado Department of Human Services

(https://www.colorado.gov/pacific/cdhs/contact-us-5); through telephone calls to Denver

Human Services’ main telephone number, 720-944-4347; and by individuals’ contact


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with their current or former caseworkers. Any such complaints and grievances are

directed to a Denver Human Services employee for review, investigation and response.

The employee currently serving in this role is Management Analyst Supervisor Jenni

Hankel. The telephone number to customer service at Denver Human Services is

publicly available at https://www.denvergov.org/content/denvergov/en/denver-human-

services.html. Individuals filing a complaint or grievance with Denver Human Services

are encouraged, but not required, to submit their complaints on a Complaint/Grievance

Form which informs them that they may also submit their complaints to the Federal

Office of Civil Rights or the Colorado Department of Human Services. If an individual is

not satisfied with Denver Human Services’ response to his or her complaint/grievance,

the individual may request further review by the Human Services Citizen Review Panel.

See Denver Rev. Mun. Code §§ 2-253 to 2-255. This process has not been utilized in

recent years, as members of the public have instead chosen to file complaints with the

Child Protection Ombudsman of Colorado, infra.

      22.    Colorado Revised Statutes section 19-3.3-102(1)(a) provides “the

independent office of the child protection ombudsman, referred to in this article as the

“office”, is established in the judicial department as an independent agency for the

purpose of ensuring the greatest protections for the children of Colorado.” Section 19-

1-307(2)(u) includes the Child Protection Ombudsman as one of the “persons or

agencies [who] shall have access to child abuse or neglect records or reports.”

      23.    The Child Protection Ombudsman’s duties and powers are set forth in

subsections 19-3.3-103(1)-(2).


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       24.    The Office of the Child Protection Ombudsman has a publicly available

website at https://coloradocpo.org/. The Child Protection Ombudsman is independent

from state and county agencies that investigate cases of suspected child abuse or

neglect, including the Colorado Department of Human Services and Denver Human

Services. According to its website, the Child Protection Ombudsman listens to the

public about their experiences and concerns regarding child protection and researches

and investigates those concerns to determine ways to resolve them. The Child

Protection Ombudsman’s website explains that persons who may contact it include the

following:

              Anyone who has concerns regarding Colorado’s child
              protection system. We often hear from parents,
              grandparents, juveniles, foster parents, attorneys, child
              protection professionals, mental health providers and
              medical professionals.

The Child Protection Ombudsman website explains its role in part as follows:

              The Child Protection Ombudsman is charged with hearing
              the public’s complaints related to services administered by
              any public agency or provider that receives public money to
              support the safety, permanency or well-being of children. We
              also help Coloradans navigate the complex child protection
              system and connect them with resources.

Members of the public may submit complaints to the Child Protection Ombudsman

through an online form that is prominently on its website at

https://coloradocpo.org/complaint-form/. The Child Protection Ombudsman website

provides the public with its contact information, a physical address, and business hours

at https://coloradocpo.org/contact/.

       25.    The Colorado Department of Human Services Institutional Abuse Review

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Team (IART) reviews institutional assessments to determine whether the county has

conducted a thorough assessment of an institution, provides technical assistance and

coaching to facilities and county staff, provides feedback to the counties through the

child welfare case management system, and provides the county that completed the

assessment with guidance on the missing information. The IART was established to

comply with the citizen review panel requirement of 42 U.S.C. § 5106a(c). The IART is

a citizen review panel. It meets once a month. Information about the Institutional Abuse

Review Team and its meeting schedule is publicly available at

https://www.colorado.gov/pacific/cdhs-boards-committees-collaboration/institutional-

abuse-review-team. Colorado Revised Statutes section 19-3-308(4.5)(a) authorizes the

work of the IART.

      26.    The State of Colorado’s Department of Regulatory Agencies (“DORA”),

with the assistance of the Colorado State Board of Social Work Examiners, regulates

and provides oversight of licensed and clinical social workers. A member of the public

may file a complaint with DORA regarding the conduct of a licensed or clinical social

worker including those employed as county caseworkers, using DORA’s online

complaint submission process located at

https://apps.colorado.gov/dora/licensing/Activities/Complaint.aspx. The DORA process




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 is governed by Colorado Revised Statues, section 12-245-401 through 12-45-410 2 and

 4 Code Colo. Regs. 726-1.

        27.    The Children’s Code subsections 19-1-307(1) and (4) are related to a

 federal legislative scheme, specifically, the Child Abuse Prevention and Treatment Act

 (“CAPTA”), 42 U.S.C. §§ 5101-5116i, which provides federal funding in the form of

 grants for child abuse prevention, assessment, investigation, and treatment activities.

 42 U.S.C. § 5116(a)-(b).

        28.    Section 19-1-307 is part of Colorado’s compliance with the grant terms

 offered under CAPTA. [Sched. Order ¶3.b. at 4]. The purpose of this requirement is to

 protect the privacy rights of children and families.

        29.    To qualify for a CAPTA grant, a state must submit a state plan that

 includes a certification by its Governor that “the State has in effect and is enforcing a

 State law, or has in effect a statewide program, relating to child abuse and neglect that

 includes…methods to preserve the confidentiality of all records in order to protect the

 rights of the child and the child’s parents or guardian, including requirements ensuring

 that reports and records made and maintained pursuant to the purposes of this

 ACT…shall only be made available to” specified interested persons, entities, and

 agencies. 42 U.S.C. §5106a(b)(2)(B)(viii). Section 19-1-307 is Colorado’s law that



 2 Effective October 1, 2019, Colorado Revised Statutes sections 12-43-401

 through 12-43-411 were relocated and amended by Laws 2019, Ch. 136, § 1.
 These provisions are now located at sections 12-245-401 through 12-245-410.
 The statutes were amended to update internal references within the provisions
 based on the relocation and do not substantively alter the content of these
 provisions.

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 satisfies CAPTA’s condition for critical federal funding. The Department has caused the

 certification provided in support of Colorado’s grant to be renewed annually.

        30.    CAPTA contains explicit exceptions to the requirement of confidentiality

 of records as a condition of federal funding, allowing for the disclosure of child abuse

 records to the following:

               (I) individuals who are the subject of the report;

               (II) Federal, State, or local government entities, or any agent
               of such entities, as described in clause (ix) [any Federal,
               State, or local government entity, or any agent of such entity,
               that has a need for such information in order to carry out its
               responsibilities under law to protect children from child
               abuse and neglect];

               (III) child abuse citizen review panels;

               (IV) child fatality review panels;

               (V) a grand jury or court, upon a finding that information in
               the record is necessary for the determination of an issue
               before the court or grand jury; and

               (VI) other entities or classes of individuals statutorily
               authorized by the State to receive such information pursuant
               to a legitimate State purpose[.]

 42 U.S.C. § 5106a(b)(2)(B)(viii).

        31.    Defendant Barnes’ Department promulgates regulations to effectuate its

 functions and responsibilities, including with respect to child welfare referral and

 assessment. The regulations so promulgated are codified in the Colorado Code of

 Regulations, 12 Code Colo. Regs. 2509-7, and referred to by the Department and others

 in the child protection field as “Volume 7.” The parties may offer and cite to the codified

 provisions of Volume 7 without further authentication.

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       32.    Pursuant to section 19-3-313.5, the Department created an electronically

 stored system of keeping of records and reports. That system is referred to in Volume 7

 as the State Automated Case Management System.

       33.    In January of 2019, Ms. Peck represented the mother of a three-year-old

 girl in Case No. 19JV0080, a dependency and neglect matter in Denver Juvenile Court.

       34.    Ms. Peck made statements to the Denver weekly newspaper, Westword.

 She expressed her view that Denver Human Services brought a dependency and neglect

 case against the mother based on the mother’s support for her ex-husband and the girl’s

 father, John Affourtit. Mr. Affourtit was arrested and awaiting trial on charges that he

 abused and murdered another child, the three-year-old son of his then-girlfriend while

 Ms. Peck’s client’s daughter was also in his care. Ms. Peck provided to Westword a

 portion of an e-mail communication from a caseworker supervisor detailing some of

 Denver Human Services’ concerns. Ms. Peck also provided Westword with the date,

 time, and courthouse location of an upcoming hearing in the case. The resulting article

 is Exhibit 2 to the First Amended Complaint (ECF 24-2).

       35.    After the article was published, the presiding Juvenile Court Magistrate

 issued the following order in Case No. 19JV0080 (ECC 24-3):

              The Court has become aware that Counsel for Respondent
              Mother . . . may have disclosed information to a non-party in
              violation of § 19-1-307(1)(a), C.R.S. Disclosure of identifying
              information in a dependency or neglect proceeding is a
              criminal offense pursuant to § 19-1-307(1)(b), C.R.S. This
              Order will serve as notice to all parties that any identifying
              information pertaining to this dependency and neglect
              proceeding shall be kept confidential in accordance with § 19-
              1-307(1)(a) and § 19-1-303.


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        36.    The Juvenile Court Magistrate took no further action against Ms. Peck for

 her violation of section 19-1-307.

        37.    Ms. Peck has the ability to, but has not:

        (a)    Reported any of her concerns and complaints to the Board of County

               Commissioners of any county or the City council of any city and county

               pursuant to Colorado Revised Statutes section 19-3-211;

        (b)    Reported any of her concerns and complaints to any citizen review panel

               under section 19-3-211;

        (c)    Reported any of her concerns and complaints to the Institutional Abuse

               Review Team;

        (d)    Reported any of her concerns and complaints to the Child Protection

               Ombudsman governed by section 19-3.3-102;

        (e)    Reported any of her concerns, complaints, or grievances to the Denver

               Department of Human Services. A search of Denver Human Services’

               records has yielded no complaint or grievance; or

        (f)    Reported any of her concerns and complaints to DORA.


        38.    In her declaration, Ms. Peck has stated her views concerning the efficacy,

 adequacy and efficiency of the above remedies. Those views are not informed by any

 information provided by or discussions with any representative of any of the above

 agencies or entities.

        39.    Ms. Peck has not been threatened with prosecution of a criminal offense

 under the Children’s Code section 19-1-307 by a District Attorney or other prosecuting

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 attorney who could charge or prosecute a criminal case.

        40.    A search of District Attorney McCann’s Office’s electronic database yields

 no record of any person having been investigated or prosecuted by her office for an

 alleged violation of the Children’s Code section 19-1-307. The data based contains

 records dating back to 1966.

        41.    To District Attorney McCann’s knowledge, no such matter has ever been

 referred to her Office by any law enforcement authority including the Denver Police

 Department or any judicial officer.

        42.    District Attorney McCann has had no contact with Ms. Peck and no one

 else from her office has either.

        43.    District Attorney McCann’s office has no written or unwritten policies,

 customs, or practices concerning the enforcement or non-enforcement of the Children’s

 Code section 19-1-307(4).

        44.    Denver has not prosecuted or threatened to prosecute Ms. Peck for any

 violations of the Children’s Code section 19-1-307(1).

        45.    Denver has no policy, custom, or practices of prosecuting concerning

 enforcement or non-enforcement of Children’s Code section 19-1-307(1).

        46.    The Denver Police Department has not contacted Ms. Peck regarding an

 alleged violation of the Children’s Code section 19-1-307.

        47.    Ms. Peck is not aware of any current investigation of her by the Denver

 Police Department for violation of section 19-1-307.

        48.    A search of the Denver City Attorney’s Office’s Prosecution and Code


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 Enforcement Section’s database, which contains information from 2010 to the present,

 yields no record of a prosecution of any person under section 19-1-307(1).

          49.   No law enforcement agency has contacted Ms. Peck regarding an alleged

 violation of the Children’s Code section 19-1-307.

          50.   Ms. Peck is not aware of any action that Executive Director Barnes has

 taken to seek enforcement of section 19-1-307 of the Act against Ms. Peck or any other

 person.

          51.   Disclosure of information that identifies an abused or neglected child that

 also discloses circumstances of that child’s abuse or neglect may be detrimental to that

 child.

          52.   Child abuse is one of the most difficult crimes to protect against. Often,

 there are no witnesses except the victim. Children often feel guilt and vulnerability

 associated with their abuse. These negative feelings amplify when the abuser is a parent

 or loved one. Children are more likely to report abuse when assured their identifying

 information will remain confidential and protected from public disclosure.

          53.   Children subject to a child abuse or neglect investigation and their family

 members may experience stigma when their confidential information contained in

 records or reports of child abuse or neglect is disclosed in a manner that identifies them.

          54.   CAPTA and the resulting confidentiality statutes, including section 19-1-

 307 of the Act were enacted to protect children and families and prevent this stigma.



  s/by consent                                  s/ Bianca Miyata
  Thomas B. Kelley                              Bianca E. Miyata

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  David A. Lane                         Aaron Pratt
  KILLMER, LANE & NEWMAN, LLP           Anita Schutte
  1543 Champa Street, Suite 400         Office of the Attorney General
  Denver, Colorado 80202                1300 Broadway, 6th Floor
  303-571-1000                          Denver, Colorado 80203
  303-571-1001 – facsimile              Telephone: (720) 508-6159
  tkelley@kln-law.com                   Facsimile: (720) 508-6041
  dlane@kln-law.com                     bianca.miyata@coag.gov
                                        aaron.pratt@coag.gov
  Counsel for Plaintiff                 anita.schutte@coag.gov

                                        Counsel for Defendant Michelle Barnes in
                                        her official capacity


                                        s/ by consent
                                        Andrew D. Ringel
                                        Kendra K. Smith
                                        Hall & Evans, LLC
                                        1001 17th Street, Suite 300
                                        Denver, Colorado 80202
                                        Telephone: (303) 628-3300
                                        Facsimile: (303) 628-3368
                                        ringela@hallevans.com
                                        smithk@hallevans.com

                                        Counsel for Defendant Beth McCann in her
                                        official capacity




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 6th day of July 2020, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system which will send notification of
 such filing to the following e-mail addresses:

 Thomas B. Kelley
 David A. Lane
 KILLMER, LANE & NEWMAN, LLP
 1543 Champa Street, Suite 400
 Denver, Colorado 80202
 Telephone: 303-571-1000
 Facsimile: 303-571-1001
 tkelley@kln-law.com
 dlane@kln-law.com
 Counsel for Plaintiff Jessica Peck

 Melanie Lewis
 Robert A. Wolf
 Amy J. Packer
 Denver City Attorney’s Office
 Litigation Section
 201 West Colfax Ave., Dept. 1108
 Denver, CO 80202
 Telephone: (720) 913-3100
 Facsimile: (720) 913-3155
 Melanie.lewis@denvergov.org
 Robert.wolf@denvergov.org
 Counsel for Defendant City and County of Denver

 Andrew D. Ringel
 Kendra K. Smith
 Hall & Evans, LLC
 1001 17th Street, Suite 300
 Denver, Colorado 80202
 Telephone: (303) 628-3300
 Facsimile: (303) 628-3368
 ringela@hallevans.com
 smithk@hallevans.com
 Counsel for Defendant Beth McCann

                                          s/ Kimberly Daley



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